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10
11                           UNITED STATES DISTRICT COURT
12                           CENTRAL DISTRICT CALIFORNIA
13                                    WESTERN DIVISION
14   KRISHNA LUNCH OF SOUTHERN                      )       Case No. 16-cv-8422-DSF-
     CALIFORNIA, INC., a California nonprofit )                     PLA
15   religious corporation; RAJU MANTHENA, )
     an Individual; SRINIVAS PRASAD, an             )
16   Individual; NIKITA KATHURIA, an                )
     Individual; RAKSHA DUTT, an Individual; )              MEMORANDUM OF LAW
17   VIDORI VAIDE, an Individual; and BRUCE )               IN SUPPORT OF
     ELLINGSON, an Individual,                      )       PLAINTIFFS’ MOTION
18                                                  )       FOR PRELIMINARY
                         Plaintiffs,                )       INJUNCTION
19                                                  )
                  vs.                               )
20                                                  )       Date : Dec. 13, 2021
     MONROE GORDON JR., Interim Vice                )       Time: 1:30 p.m.
21   Chancellor of Student Affairs, in his official )       CR : Hon. Dale S. Fischer
     capacity,                                      )              Courtroom 7D
22                                                  )
                                                    )
23                       Defendant.                 )
                                                    )
24   ____________________________________ )
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     ____________________________________________________________________________________________
                                                   1
       MEMO OF LAW IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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             emergencies/diseases/novel-coronavirus-2019/question-
 9           and-answers-hub/ q-a-detail/coronavirus-disease-covid-
             19-small-public-gatherings. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
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 1                                      INTRODUCTION
 2          Plaintiffs challenge the abridgement of their rights under the Free Speech,
 3   Assembly and Association, and Free Exercise Clauses of the United States and
 4   California Constitutions. Plaintiffs seek to conduct a vegan/vegetarian lunch
 5   program on the UCLA campus, to convey their pro-animal/anti-meat message. The
 6   Defendant has banned “Krishna Lunch” from the entire campus even though
 7   UCLA is now generally open to students and members of the public.
 8          The distribution of sanctified vegan and vegetarian food is part of the
 9   speech and associational rights protected by the First Amendment, Krishna Lunch
10   of S. Cal. Inc. v. Gordon, 797 Fed.Appx. 311, 313-14 (9th Cir. 2020). Plaintiffs
11   seek to serve their blessed food in a small alcove adjacent to Bruin Walk East.
12          Under rules suspended during the Covid-19 pandemic and not yet
13   reinstated, plaintiffs would have been permitted to engage in their activity in that
14   location [designated area], but would have been permitted to do so only four times
15   per year. That Draconian restriction was challenged in this suit when it was filed.
16          Now, however, UCLA has imposed a total ban on Krishna Lunch in a public
17   forum. Following a COVID-19 shut down of over a year, UCLA on September 23,
18   2021 resumed pre-pandemic levels of operations, but now bans Krishna Lunch
19   entirely. The justification for this ban is purportedly related to “Covid and safety
20   issues.”1
21          “But even in a pandemic, the Constitution cannot be put away and
22   forgotten.” Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 68
23   (2020) (per curiam). UCLA’s ban is subject to the highest level of scrutiny, and
24   contravenes, inter alia, recent Supreme Court directives on reasonable measures
25   that can be implemented to address COVID-19 concerns short of a complete ban
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27      1
         Email from Robert Cordozo, UCLA Counsel, to Krishna Lunch Counsel,
28   Robert Moest and David Liberman, Sept. 2, 2021 (on file with Plaintiffs’ counsel).
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 1   on First Amendment rights. See, e.g., id. (Gorsuch, J., concurring at 69) and
 2   (Kavanaugh, J., concurring at 72).
 3          It also fails intermediate scrutiny under United States v. O’Brien, 391 U.S.
 4   367 (1968). UCLA cannot explain why Krishna Lunch has been singled out for
 5   especially harsh treatment that is not applied to other food service operations.
 6   Plaintiffs’ agreement to wear masks, get vaccinated, physically distance, and wash
 7   frequently, is a viable, efficacious, and far less restrictive alternative to a complete
 8   ban.
 9                                       BACKGROUND
10          A. Krishna Lunch. Krishna consciousness was founded in 1965 by His
11   Divine Grace A.C. Bhaktivedanta Swami Prabhupada (“Srila Prabhupada”), the
12   eleventh guru in a succession of teachers extending back to the Fifteenth Century.
13   (Brown Decl. ¶ 4). Srila Prabhupada instructed his followers to spread the religion
14   by (1) chanting in public places; (2) distributing religious literature; and (3)
15   distributing sanctified vegan and vegetarian food to as many people as possible.
16   (Id.). Eating of meat, fish, or eggs is strictly prohibited. (Id. ¶ 5).
17          Consuming prasada and sharing it with others is the “cornerstone of the
18   religion.” (Id. ¶ 6). “The . . . world is full of contaminations, and one who is
19   immunized by accepting prasada of the Lord (food offered to Vishnu) is saved
20   from the attack.” A.C. Bhaktivedanta Swami, Bhagvad-gita As It Is 178. “The
21   Krishna consciousness movement is based on this principle: chant the Hare
22   Krishna mantra at every moment . . . and distribute prasâda . . . . Simply by liberal
23   distribution of prasâda and sankîrtana, the whole world can become peaceful and
24   prosperous.” A.C. Bhaktivedanta Swami, Srimad Bhavatam, 4.12.10 (purport).
25          In addition to the distribution of prasada, the Krishna Lunch program will
26   display signs and banners, distribute religious literature, and speak with interested
27   persons about the purpose and meaning of Krishna Lunch. (Id. ¶ 7).
28          B. The Designated Area. The area at issue is a small, concrete alcove
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 1   located in the middle of campus at the southeast corner of the Student Activities
 2   Center. It is immediately adjacent to Bruin Walk East, the main Free Speech area
 3   on campus. The area is approximately 3,240 square feet. Krishna Lunch will
 4   occupy about 100 square feet. (Brown Decl. ¶ 10; see Fourth Amend. Compl., Ex.
 5   A).2 The area also has a concrete patio and tables where people can relax, read,
 6   converse, and eat lunch. An expansive lawn area extends north and east from the
 7   designated area to the Powell Library, and is available for eating, reading, and
 8   conversing.
 9           C. Relevant COVID-19 Guidelines:
10           ! Open Campus: UCLA is open to the general public, including the
11   Luskin Conference Center, the medical center, museums, botanical gardens,
12   restaurants and campus grounds. See UCLA return to campus, Visiting Campus,
13   General visitors, https://covid-19.ucla.edu/ucla-return-to-campus/.
14           ! Food services: “Restaurants and dining halls on campus can now operate
15   indoors and outdoors with no limits on seating capacity or physical distancing
16   requirements.” Id. at Restaurants and dining facilities. (emphasis added).3
17           ! Events and Gatherings. “Organized events” including celebrations,
18   dances, lectures, forums, performances, rallies, social gatherings, concerts, speaker
19   presentations, and conferences do not have capacity limits or physical distancing
20   restrictions. Id. at Guidance for campus events.
21           ! Meetings. Meetings are permitted. Id. at Meetings and conferences.
22           ! Outdoor Events. L.A. County “recommends, but does not require”
23   outdoor events with crowds of more than 10,000 to verify vaccinations or negative
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25      2
            Hereinafter “FAC.”
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         Plateia at the Luskin Conference Center, for example, “is currently offering
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     indoor and outdoor dining, as well as takeout meals.” Id. (emphasis added).
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 1   test results of attendees. Masks are recommended. Id. at Large outdoor events.
 2          ! Bookstores: The Ackerman Union bookstore and other stores are open to
 3   the public without physical distancing or capacity limits. Id. at Campus stores.
 4          ! Gyms: Gyms and recreation facilities, including hot tubs and saunas, can
 5   operate at full capacity. Id. at UCLA recreation facilities.
 6          ! Vaccinations. Everyone connected to UCLA must be vaccinated. See
 7   UCLA Return to campus, All Bruins: COVID requirements Vaccination policy,
 8   https://covid -19. ucla.edu/ucla-return-to-campus/.
 9          ! Masks: Outdoor facemasks not required. Id. at Facemasks – Outdoors.
10          ! Visitors. Persons visiting or conducting business on campus must wear
11   masks while indoors and must complete “UCLA’s Symptom Monitoring Survey.”
12   Id. at Invited guests and third-party contractors.
13          D. Procedural Background. On February 9, 2018, this Court dismissed
14   Plaintiffs’ Third Amended Complaint, with prejudice. (Dkt. No. 62). Plaintiffs
15   appealed (Dkt. No. 64) and on January 13, 2020, the Ninth Circuit reversed the
16   dismissal of Plaintiffs’ Free Speech and Association claims but upheld the Court’s
17   ruling on the Free Exercise claim. Krishna Lunch, 797 Fed.Appx. at 313-14. The
18   Court also remanded to determine whether the restriction is valid under U. S. v.
19   O’Brien, 391 U.S. 367 (1968).
20          Because of the COVID-19 pandemic, the action on remand was stayed
21   several times, as UCLA (and all other public and private universities and colleges
22   in California) were completely shut down during the pandemic. (Dkt. Nos. 69, 77,
23   79, 81. 83). The campus re-opened at pre-pandemic levels on September 23, 2021.
24          UCLA informed Plaintiffs on September 2, 2021, that under UCLA’s post-
25   pandemic policy, Krishna Lunch was completely banned from campus. (Email
26   from Robert Cordozo, UCLA Counsel, to Krishna Lunch Counsel, Robert Moest
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 1   and David Liberman, Sept. 2, 2021).4
 2                      PRELIMINARY INJUNCTION STANDARD
 3          Plaintiffs should be granted a temporary restraining order and preliminary
 4   injunction. For relief pendents lite, the moving party must show: (1) a likelihood
 5   of success on the merits; (2) that the moving party will suffer irreparable harm in
 6   the absence of preliminary relief; (3) that the balance of equities favors the moving
 7   party; and (4) the injunction is in the public interest. Winter v. Natural Res. Def.
 8   Council, Inc., 555 U.S. 7, 21 (2008).
 9                 I. Likelihood of Success. The validity of the UCLA ban is a question
10   of law that will be resolved in plaintiffs’ favor. Moreover, no sufficient
11   justification exists for the ban on expressive food distribution.
12                 ii. Irreparable Injury. A special rule applies to the assessment of
13   injury in cases involving First Amendment rights:
14                 Where a party establishes the likelihood of success on
                   the merits, irreparable harm will also be found in
15                 injunction actions involving First Amendment
                   challenges. Elrod v. Burns, 427 U.S. 347, 373, 96 S. Ct.
16                 2673, 49 L. Ed.2d 547 (1976). Because [plaintiff] has
                   established a likelihood of success on the merits,
17                 irreparable harm is also established for purposes of the
                   preliminary injunction stage of this matter.
18
     Higher Taste v. City of Tacoma, 755 F. Supp.2d 1130, 1137-38 (W.D. Wash.
19
     2010).
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                   iii. Balance of Equities. Because the UCLA ban fails First
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     Amendment scrutiny, defendant cannot claim an equitable interest in seeing the
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     invalid laws enforced.
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                   iv. Public Interest. “Where a party establishes the likelihood of
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        Defendant previously warned the Plaintiffs that they would be prosecuted
26 under Cal. Educ. Code § 92440.5 and Cal. Code Regs. §§ 100004 and 1000012, as
   well as other applicable codes and ordinances, should they attempt to conduct the
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   Krishna Lunch program without approval. (FAC ¶ 35).
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 1   success on the merits, the public interest will also be implicated in injunction
 2   actions involving First Amendment challenges. Gannett Co., Inc. v. DePasquale,
 3   443 U.S. 368, 383, 99 S. Ct. 2898, 61 L. Ed.2d 608 (1979) (it is always in the
 4   public interest to prevent one from violating another's constitutional rights).”
 5   Higher Taste, 755 F. Supp.2d at 1139.
 6                                         ARGUMENT
 7   I.     INTRODUCTION.
 8          The UCLA ban draws an impermissible distinction between Krishna Lunch
 9   and similar activities conducted by UCLA and others. Consequently, UCLA must
10   prove that its ban is the least restrictive means of achieving a compelling state
11   interest. Strict scrutiny applies because the restriction is not merely a time, place
12   and manner regulation of speech, but a complete ban. It is the antithesis of narrow
13   tailoring.
14          The ban also fails intermediate scrutiny. First, it is content-based because it
15   draws an impermissible distinction between Plaintiffs’ expressive activities and
16   comparable UCLA and commercial activities. Second, it burdens substantially
17   more speech than is required, and ignores numerous, obvious, and readily
18   available less burdensome alternatives to a ban, such as plaintiffs’ agreement to
19   wear facial masks, be fully vaccinated, physically distance, wash frequently, and
20   clean and sanitize the entire Krishna Lunch area at regular intervals.
21    II.   THE DESIGNATED AREA IS A “PUBLIC FORUM” UNDER BOTH
22          FEDERAL AND CALIFORNIA LAW.
23          Public forum analysis is framed by “the access sought by the speaker. When
24   speakers seek general access to public property, the forum encompasses that
25   property . . . In cases in which limited access is sought, our cases have taken a
26   more tailored approach to ascertaining the perimeters of a forum within the
27   confines of the government property.” Cornelius v. NAACP Legal Def. & Educ.
28   Fund, 473 U.S. 788, 800 (1985)(citations omitted); accord Children of the Rosary
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 1   v. City of Phoenix Eyeglasses, 154 U.S. 972, 976 (9th Cir. 1998). In this case, the
 2   area to which Plaintiffs seek access has all of the features of a public forum.
 3          A. First Amendment. With its confluence of walkways, patios, benches,
 4   and park areas, and the continuous presence of students, faculty, staff, workers,
 5   and the public, the designated area is precisely the kind of place that has
 6   “immemorially been held in trust for the use of the public and time out of mind,
 7   ha[s] been used for purposes of assembly, communicating thoughts between
 8   citizens, and discussing public questions.” Hague v. CIO, 307 U.S. 496, 515
 9   (1939).
10          College campuses featuring areas substantially identical to the designated
11   area have been recognized as public fora. In Students Against Apartheid Coalition
12   v. O'Neil, 660 F. Supp. 333 (W.D. Va. 1987) the court held “the central lawn” of
13   the University of Virginia campus to be a public forum where activists had the
14   right to erect wooden protest shanties. Id. at 338. The court noted the “similarity
15   between an open campus lawn and a traditional public forum like municipal
16   parks.” Id.
17          The court in Hays County Guardian v. Supple, 969 F.2d 111 (5th Cir. 1992)
18   observed that the grounds of Southwest Texas State University was the “site of a
19   community of full-time residents . . . where people may enjoy the open air or the
20   company of friends and neighbors in a relaxed environment.” Id. at 117. Such a
21   place, the court held, is “akin to a public street or park.” Id.
22          Relying on both state and federal law,5 the court in Burbridge v. Sampson,
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        5
         “While the [Cal. and U.S.] free speech provisions differ, California courts
25
   draw upon both state and federal law for their state constitutional analyses.”
26 Burbridge v. Sampson, 74 F. Supp. 2d 940, 947 (C.D. Cal. 1999); See U.C.
   Nuclear Weapons Labs Conversion Project v. Lawrence Livermore Lab., 154 Cal.
27
   App.3d 1157, 1163 (1984); Gonzales v. Superior Court of State of California for
28 County of Ventura, 180 Cal.App.3d 1116, 1123 (1986).
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 1   74 F. Supp. 2d 940 (C.D. Cal. 1999) had “no doubt that the . . . facilities and areas
 2   on campus which the college has made generally available for use by students and
 3   the community at large, including, inter alia, the area in front of the [Student
 4   Services Center] – have been opened to the public.” Id. at 947-48
 5          The designated area is fully within these public forum parameters. Located
 6   adjacent to Bruin Walk East,6 it is fully integrated into the campus and adjacent
 7   community. The campus grounds are open to the general pubic, see, e.g., UCLA
 8   Regulations on Activities, Registered Campus Organizations and Use of
 9   Properties § II. at 2 (6:00 a.m. to midnight)(hereinafter “SRO Regs.”) and the
10   public is expressly invited to attend a variety of events at popular campus venues.7
11          Visitors may freely walk through campus to enjoy the scenery and
12   architecture, relax on one of the lawn areas, exercise, play with pets and children,
13   engage in sports, or read, without having to show identification or register.
14          Plaintiffs’ expressive activities also contribute to UCLA’s “quintessential
15   [mission as a] ‘marketplace of ideas.’” Thomas J. Davis, Assessing Constitutional
16   Challenges to University Free Speech Zones Under Public Forum Doctrine, 79
17   Ind. L. J. 267, 275 (2004). “Free and open association, discussion and debate are
18   important aspects of the educational environment of the University, and should be
19   actively protected and encouraged.” RSO Regs. at 1.
20          “[T]he culture of free ideological exchange is deeply embedded in the
21
        6
22      Bruin Walk is the main free speech area on campus. “Known to everyone on
   campus – and avoided by some – there is no denying that Bruinwalk has become
23
   the UCLA campus highway.” Daily Bruin Staff, This is my UCLA: Bruinwalk,
24 Daily Bruin (June 6, 2010), found at https://dailybruin.com/2010/ 06/06/
25 gradbruinwalk2.
        7
26      Some of the more prominent venues include Ackerman Union/Kerkhoff Hall,
   Royce Hall, the Hammer and Fowler Museums, Pauley Pavilion, the New Wright
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   Gallery, the Billy Wilder Theater, and the Schoenberg Music Hall. See, e.g.,
28 UCLA Happenings Events Calendar, found at https://happenings.ucla.edu.
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 1   collegiate setting. . . . [T]here is a broad diversity of speakers – students,
 2   professors, non-teaching employees, vendors, external activists and the institution
 3   itself – all of whom bring differing rights to their expression.” Derek P.
 4   Langhauser, Drawing The Line Between Free And Regulated Speech On Public
 5   College Campuses: Key Steps And The Forum Analysis, 181 W.E.L.R. 339, 340
 6   (Dec. 2003).
 7          B. California Constitution. The designated area is also a public forum
 8   under the Liberty of Speech Clause of the California Constitution because Krishna
 9   Lunch is “compatible” with the intended and usual usage of the designated area. In
10   Vegan Outreach, Inc. v. Riverside Cmty. College Dist., No. cv 09-4625, 2009 WL
11   10700113 (C.D. Cal. 2009) the Court relied on art. I., § 2 of the California
12   Constitution8 in finding a central area on the Riverside Community College
13   (“RCC”) campus to be a public forum:
14          These areas on the RCC campus are open to the public. Indeed, the
            Promenade area at the center of the RCC campus – an area where
15          leafleting is prohibited – appears to include a wide park-like expanse
            closed to vehicles. The Promenade area includes wide walkways and
16          benches for students and others to congregate. Moreover, Defendant
            allows commercial vendors to set up tents and booths in the
17          Promenade area.
18   Id. at *2.9
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        8
           “Every person may freely speak, write and publish his or her sentiments on
21
     all subjects, being responsible for the abuse of this right. A law may not restrain or
22   abridge liberty of speech or press.” Cal. Const. art. I, § 2(a). “The California
     Constitution, and California cases construing it, accords greater protection to the
23
     expression of free speech than does the U.S. Constitution.” Gonzales v. Super. Ct.
24   of State of Cal. for County of Ventura, 180 Cal. App. 3d 1116, 1122 (1986) (citing
25   Robins v. Pruneyard Shopping Center, 23 Cal.3d 899, 903, 907–910 (1979)).
        9
26      The Court relied on Ninth Circuit precedent, particularly Kuba v. 1-A Agric.
   Ass'n, 387 F.3d 850, 857 (9th Cir. 2004) (“protest activity is not inherently
27
   incompatible” with use of Cow Palace walkways and parking lot area) and
28 Carreras v. City of Anaheim, 768 F.2d 1039, 1045 (9th Cir. 1985), disagreed with
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 1           Prigmore v. City of Redding, 211 Cal. App. 4th 1322 (2012) found the
 2   outdoor grounds of a municipal library to be a public forum under both state and
 3   federal law. The court highlighted these features: (1) the area is surrounded by a
 4   public building; (2) there was unrestricted public access; (3) public forum
 5   classification was consistent with the Library’s mission as “a mighty resource in
 6   the free marketplace of ideas”; (4) the area was adjacent to park-like areas; (5) the
 7   walkways were larger than standard walkways and included benches and other
 8   sitting areas; and (6) it was an area where people could rest or congregate for
 9   conversation. Id. at 1339.
10           All of these characteristics are present here. The designated area is centrally
11   located in a prominent free speech area of campus. It is bordered by major
12   pedestrian thoroughfares,10 and there is unrestricted public access to the area and
13   surrounding buildings and grounds. Spacious lawn areas, patios, and benches are
14   available to relax and gather for eating and discussion. (Brown Decl. ¶¶ 20-23).
15           Krishna Lunch will not interfere with pedestrian traffic or with the
16   educational mission of the University. No material health risk is posed because
17   plaintiffs will follow all health and safety requirements, including those pertaining
18   to COVID-19. Krishna Lunch is thus fully compatible with the administrative and
19   pedagogical interests of the University. See, e.g., In re Hoffman, 67 Cal. 2d 845,
20   850-51 (1967); U.C. Nuclear Weapons Labs. Conversion Project v. Lawrence
21   Livermore Lab.,154 Cal. App. 3d 1157, 1163 (1984).
22
23
   on other grounds in Los Angeles Alliance for Survival v. City of Los Angeles, 22
24 Cal. 4th 352 (2000) (solicitation not “incompatible with the intended uses of either
25 the exterior areas of the stadium or the exterior walkways of the [Anaheim]
   convention center”).
26
        10
        “[T]here is no denying that Bruinwalk has become the UCLA campus
27
   highway.” Daily Bruin Staff, This is my UCLA: Bruinwalk, Daily Bruin (June 6,
28 2010), found at https://dailybruin.com/2010/ 06/06/gradbruinwalk2.
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 1   III.   PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS.
 2          In deciding whether a preliminary injunction is appropriate, “The Ninth
 3   Circuit considers the likelihood of success on the merits ‘the most important
 4   Winter factor; if a movant fails to meet this threshold inquiry, the court need not
 5   consider the other factors.’” Mitchell v. Newsom, 509 F. Supp. 3d 1195,1200,
 6   (quoting Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848, 856 (9th Cir. 2017)).
 7          A. Krishna Lunch Is Singled Out For Disfavored Treatment. UCLA singles
 8   out Krishna Lunch for disfavored treatment not applied to activities with similar
 9   impact, such as indoor and other outdoor food service, large outdoor events and
10   activities, full capacity stores, museums, gyms, dining halls, performances, rallies,
11   and concerts, to name a few. “[W]here a statute based on nonexpressive activity
12   has the inevitable effect of singling out those engaged in expressive activity,”
13   Mitchell, 509 F. Supp. 3d at 1201 (quoting Arcara v. Cloud Books, Inc., 478 U.S.
14   697, 706-707 (1986)), it is subject to rigorous First Amendment scrutiny.
15          The Court in Minneapolis Star and Tribune Co. v. Minnesota Comm’r of
16   Revenue, 460 U.S. 575 (1983) invalidated a tax applied to the sale of large
17   quantities of newsprint. The Court found that the tax “imposed a greater burden of
18   justification on the State even though the tax was imposed upon a nonexpressive
19   activity, since the burden of the tax inevitably fell disproportionately–in fact,
20   almost exclusively–upon the shoulders of newspapers exercising the
21   constitutionally protected freedom of the press.” 478 U.S. at 704; see Mitchell, 509
22   F. Supp. 3d at 1202.
23          The same is true here. Not only does the ban fall disproportionately on
24   Krishna Lunch – it falls exclusively on Krishna Lunch. Many other activities are
25   allowed freely all over campus, but Krishna Lunch is not, even though Krishna
26   Lunch poses no threat to UCLA’s interests.. See UCLA return to campus, Visiting
27   Campus, General visitors, https://covid-19. ucla.edu/ucla-return-to-campus/. (See
28   also Brown Decl. ¶¶ 17-23, Exs. B-H). Krishna Lunch is thus“treated uniquely
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 1   from all other types of businesses,” and “bear[s] disproportionately the burden of
 2   the restriction.” Mitchell, 509 F. Supp. 3d at 1202.
 3           B. The Ban Is Also Subject To Strict Scrutiny Because It Proscribes An
 4   Entire Category Of Expression. There are “stringent standards . . . for restrictions
 5   on speech in traditional public fora.” Frisby v. Schultz, 487 U.S. 474, 486 (1998).
 6   The “government may not prohibit all communicative activity” Perry Educ. Assn.
 7   v. Perry Local Educ.s' Assn., 460 U.S. 37, 45 (1983) and it “must bear an
 8   extraordinarily heavy burden to regulate speech in such locales.” NAACP v. City of
 9   Richmond, 743 F.2d 1346, 1355 (9th Cir. 1984).11
10           Content-neutral restrictions are especially capable of improperly restricting
11   protected expressive activity. It is well-established, for example, that “[g]enerally
12   directed means of communication” such as Krishna Lunch “may not be completely
13   banned” in a public forum such as the designated area. Frisby, 487 U.S. at 486.
14   The Supreme Court has
15           voiced particular concern with laws that foreclose an entire medium
             of expression. . . . Although prohibitions foreclosing entire media may
16           be completely free of content or viewpoint discrimination, the danger
             they pose to the freedom of speech is readily apparent – by
17           eliminating a common means of speaking, such measures can
             suppress too much speech.
18
19   City of Ladue v. Gilleo, 512 U.S. 43, 54 (1994)(emphasis added)(citations and
20   footnotes omitted).
21           “[A]n absolute prohibition on a particular type of expression will [thus] be
22   upheld only if narrowly drawn to accomplish a compelling governmental interest.”
23
        11
24         See also, e.g., United States v. Grace, 461 U.S. 171, 177 (1984)(“[T]he
     government's ability to permissibly restrict expressive conduct [in a public forum]
25
     is very limited”); Perry, 460 U.S. at 45 (1983) (“The protections afforded by the
26   First Amendment are nowhere stronger than in streets and parks.”); Berger v. City
     of Seattle, 569 F.3d 1029, 1035-36 (9th Cir. 2009)(en banc)(“protections afforded
27
     by the First Amendment are nowhere stronger than in streets and parks, both
28   categorized for First Amendment purposes as traditional public fora”).
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 1   Grace, 461 U.S. at 177. The burden rests on UCLA “to demonstrate the
 2   compelling interest requiring the restriction of free expression and to show that the
 3   regulation serves that interest with the least restriction possible.” Women Strike for
 4   Peace v. Hickel, 420 F.2d 597, 605 (D.C. Cir. 1969)(Wright, J., concurring).12
 5           C. The Ban Is Not The Least Restrictive Means Of Achieving A Compelling
 6   State Interest. In support of its ban, UCLA cited its concern with “Covid and
 7   safety issues.” While significant in the abstract, this interest is not advanced by the
 8   UCLA ban. The complete ban on Krishna Lunch nonetheless sweeps safe and
 9   protected speech within its ambit. It is the antithesis of narrow tailoring in that
10   there are numerous and obviously less burdensome alternatives that are available
11   to address COVID-19 issues, or any other issues UCLA might raise.
12           For example, although not required to do so by current regulations,
13   plaintiffs will wear face masks at all times while on campus, even though Krishna
14   Lunch will be held outdoors in a “well-ventilated” area where there is an
15   abundance of space to maintain physical distancing. See, e.g., Harvard Health
16   Pbl’g, Preventing the spread of the corona virus, (Oct. 13, 2021)(“Harvard
17   Health”), found at https://www.health.harvard.edu/diseases-and-conditions/
18   preventing-the-spread-of-the-coronavirus. Similarly, although not required for an
19   outdoor program like Krishna Lunch, everyone associated with Krishna Lunch
20   will be fully vaccinated. And, physical distancing will be followed, and antiseptics
21   will be extensively used for cleansing. (Brown Decl. ¶¶ 12-15).
22           Every UCLA entity that follows one or more of these guidelines – masks,
23   vaccines, social distancing, and cleansing – is allowed to conduct their activities
24   on campus, except for Krishna Lunch, which raises the specter that the ban is
25
        12
26      “To justify any intrusion [on First Amendment rights] at all, there must be a
   threshold showing that the factual situation demonstrates a real need for the
27
   government to act to protect its interest.” Ass’n of Community Orgs. for Reform
28 Now v. St. Louis County, 930 F.2d 591, 594 (8th Cir. 1991).
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 1   actually “pretextual” see Vegan Outreach, 2009 WL at *3, and is not narrowly
 2   tailored to serve a compelling governmental interest.
 3           D. The Restriction Fails The O’Brien/Time, Place And Manner Test. The
 4   Ninth Circuit requested this Court to determine “whether UCLA’s restriction
 5   passes constitutional muster under United States v. O’Brien.” See Krishna Lunch,
 6   79 Fed.Appx. at 314. Under O'Brien,
 7           a government regulation is sufficiently justified if it is within the
             constitutional power of the Government; if it furthers an important or
 8           substantial governmental interest; if the governmental interest is
             unrelated to the suppression of free expression; and if the incidental
 9           restriction on alleged First Amendment freedoms is no greater than is
             essential to the furtherance of that interest.
10
11   391 U.S. at 377.
12           As argued above, the regulation now before the court is a total ban, not the
13   kind of regulation normally subject to the O’Brien test. But even under O’Brien,
14   UCLA would the burden of demonstrating that the ban “advance[s] important
15   government interests unrelated to the suppression of free speech, and do[es] so in
16   ways that effect as minimal a restriction on [Krishna Lunch] as possible.” Jacobs
17   v. Clark County Sch. Dist., 526 F.3d 419, 435 (9th Cir. 2008). 13 If the restriction
18   “fails to satisfy any one of these [requirements], it is unconstitutional.” Edwards v.
19   City of Coeur D’Alene, 262 F.3d 856, 862 (9th Cir. 2001); Grossman v. City of
20   Portland, 33 F.3d 1200, 1205 (9th Cir. 1995).
21                 1. The ban is content-based. Even where an enactment “contains no
22
23      13
           O’Brien has been held to include a requirement that the government provide
24   an alternative channel of communication. “The third prong of the intermediate
     scrutiny test has been stated in several forms but . . . focuses on whether the
25
     regulation ‘leave[s] open ample alternative channels’ [of] communication.”
26   Jacobs, 526 F.3d at 437 (quoting Colacurcio v. City of Kent, 163 F.3d 545, 551
     (9th Cir.1998)).“[I]n the last analysis [there] is little, if any, differen[ce] from the
27
     standard applied to time, place, or manner restrictions” and O’Brien. See Clark v.
28   Community for Creative Non-Violence, 468 U.S. 288, 298 (1984).
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 1   explicit content-based limitation on the scope of prohibited conduct,” United
 2   States v. Eichman, 496 U.S. 310, 315 (1990), a court must consider whether the
 3   law “suppresses expression out of concern for its likely communicative impact. Id.
 4   at 317. UCLA should not be allowed to simply “recite” a generalized, amorphic
 5   interest in fighting COVID-19, but should rather be required to explain precisely
 6   how Krishna Lunch is more dangerous that the numerous analogous campus
 7   commercial and quasi-commercial activities that are operating at full capacity.
 8   Jacobs, 526 F.3d at 432 (the “mere assertion of a benign purpose is insufficient to
 9   conclusively establish a regulation's content-neutrality”) (emphasis in original);
10   see also Turner Broad. Sys., Inc. v. Fed. Commc’n Comm’n, 512 U.S. 622, 642-43
11   (1994) (“the mere assertion of a content-neutral purpose [is not] enough to save a
12   law which, on its face, discriminates based on content.”).
13          As of September 23, 2021, UCLA allows a wide range of activities which
14   are indistinguishable in form and impact from Krishna Lunch. For example,
15   “[restaurants and dining halls on campus can now operate indoors and outdoors
16   with no limits on seating capacity or physical distancing requirements.” UCLA
17   return to campus, Visiting Campus, General visitors, https://covid-19.ucla.edu/
18   ucla-return-to-campus/.
19          In Vegan Outreach, the plaintiffs asserted that a Riverside Community
20   College ban on campus literature distribution, but not a ban on analogous
21   commercial activities, was content-based. The court stated: “[T]he fact that the
22   commercial speech activities allowed in the Promenade area appear to pose the
23   type of traffic congestion issues Defendant claims it seeks to prevent by
24   prohibiting leafleting activities in the same area suggests that Defendant's ban on
25   such activities is pretextual.” 2009 WL 10700113, at *3.
26          UCLA has not proffered any evidence linking Krishna Lunch to the
27   coronavirus. Nor has it shown that Krishna Lunch’s use of masks, vaccines,
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 1   physical distancing, and cleansing are not sufficient safeguards.14against the virus.
 2   Cf. Kuba v. 1-A Agric. Ass'n, 387 F.3d 850, 860 (9th Cir. 2004) (“There is no
 3   record of harm or safety concerns caused by such activity in the supposedly
 4   congested areas. This void in the record belies the Association's claim that a
 5   demonstrator handing out leaflets would contribute to the harm alleged.”); See
 6   also Vegan Outreach, 2009 WL 10700113, at *3.
 7           Belying UCLA’s contrived ban on Krishna Lunch, bona fide public health
 8   authorities are virtually unanimous in their opinion that vaccinations, face masks,
 9   physical distancing, and frequent antibacterial cleansing are more than sufficient
10   to prevent the spread of the virus. See, e.g., World Health Organization,
11   Coronavirus disease (COVID-19): Small public gatherings (Aug. 6, 2020)
12   https://www.who.int/emergencies/diseases/novel-coronavirus-2019/question-and-
13   answers-hub/ q-a-detail/coronavirus-disease-covid-19-small-public-gatherings;
14   Centers for Disease Control and Prevention, COVID-19: How to Protect Yourself
15   and Others (Updated Aug. 13, 2021).
16   https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html.
17           Wear masks as advised by the CDC. Physically distance. Socialize
             outdoors. Avoid crowded indoor spaces. Wash your hands frequently.
18           If you are not fully vaccinated, these are essential precautions you
             should take to reduce your risk of catching or spreading coronavirus.
19
20   Harvard Health Publ’g, Preventing the spread of the coronavirus, (Oct. 13, 2021)
21   https://www.health.harvard.edu/diseases-and-conditions/preventing-the-spread-of-
22   the-coronavirus.
23
        14
24         It is no coincidence that while meat consumption is a far greater hazard to
     health and the environment see, e.g. Jano le Roux,“Meat is now classified as the
25
     same level of cancer-causing products as tobacco,” the WHO says, (June 15,
26   2021), https://original.newsbreak.com/@jano-le-roux-561725/ 2281886417094-
     meat-is-now-classified-as-the-same-level-of-cancer-causing-products-as-tobacco-t
27
     he-who-says?s=i3, than is a vegan orvegetarian diet, UCLA treats Krishna Lunch
28   as if it were the so-called hazard.
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 1          Clark v. Community for Creative Non-Violence, 468 U.S. 288 (1984)
 2   observed that “[t]here is no gainsaying that preventing overnight sleeping will
 3   avoid a measure of actual or threatened damage to Lafayette Park and the Mall.”
 4   468 U.S. at 299. But the ban imposed by UCLA on Krishna Lunch will not in any
 5   capacity “avoid a measure of actual or threatened damage” from the coronavirus.
 6   UCLA is unable to identify even a shred of evidence that if plaintiffs are
 7   vaccinated, wear masks, physical distance, and frequently use antibacterial
 8   cleansers, that Krishna Lunch will have an adverse impact on the spread of Covid.
 9          It is not sufficient, consequently, that Defendant be permitted to assert a
10   generalized concern with COVID-19 beyond what every other institution and
11   individual in this country is dealing with. UCLA has utterly failed to “demonstrate
12   that the recited harms are real, not merely conjectural and that the regulation will
13   in fact alleviate these harms in a direct and material way” Turner, 512 U.S. at 664.
14          UCLA’s asserted interest here is therefore pretextual. Defendant vigorously
15   opposed Krishna Lunch long before the pandemic, and has merely latched onto
16   COVID-19 as yet another pretext for banning plaintiffs’ religious exercise. There
17   is no reasoned basis for distinguishing Krishna Lunch from the other restaurants
18   and large outdoor activities that are allowed on campus.
19                 2. The restriction is not narrowly tailored. “[A]lthough the chosen
20   restriction ‘need not be the least restrictive or least intrusive means’ available to
21   achieve the government's legitimate interests . . . the existence of obvious, less
22   burdensome alternatives is ‘a relevant consideration in determining whether the
23   ‘fit’ between ends and means is reasonable,’” Berger v. City of Seattle, 569 F.3d
24   1029, 1041 (9th Cir. 2009)(en banc)(quoting City of Cincinnati v. Discovery
25   Network, 507 U.S. 410, 417 n.13 (1993)(citations omitted)); see also Santa
26   Monica Food Not Bombs, 450 F.3d 1022, 1041 (2006) (“We observe as well that
27   there are obvious alternative ways the City could adjust the Events Ordinance so
28   that it is appropriately tailored to its asserted interests.”).
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 1          Defendant has the burden of proving the ban is “narrowly tailored to serve a
 2   significant governmental interest.” Ward v. Rock Against Racism, 491 U.S. 781,
 3   799 (1989). The burden has two components: (1) the regulation must directly and
 4   substantially further an important governmental interest; and (2) any incidental
 5   restriction on alleged First Amendment freedoms must be no greater than is
 6   essential to the furtherance of that interest. Members of City Council v. Taxpayers
 7   for Vincent. 466 U. S. 789, 805 (1984) (quoting O’Brien, 391 U.S. at 377).
 8          UCLA’s unwillingness to implement the safeguards recommended not only
 9   by UCLA, but by the World Health Organization and Center for Disease Control
10   as well, is powerful evidence that UCLA is not sincerely seeking to solve the
11   problems that it has identified, and that the complete ban on Krishna Lunch is not
12   narrowly tailored to achieve its legitimate ends.
13          In Discovery Network, the Court observed that [a] regulation need not be
14   ‘absolutely the least severe that will achieve the desired end,’ . . . but if there are
15   numerous and less burdensome alternatives to the restriction on . . . speech, that is
16   certainly a relevant consideration in determining whether the ‘fit’ between the
17   ends and means is reasonable.” Id. at 417 n.13 (citing Bd. of Trustees of Univ. of
18   N.Y. v. Fox, 492 U.S. 469, 480 (1989).
19          Similarly, in Project 80's, Inc. v. City of Pocatello, 942 F.2d 635, 638 (9th
20   Cir. 1991) the Ninth Circuit emphasized that “[b]y pointing out the alternatives
21   available to the cities to advance their interests, we do not impose a least
22   restrictive means requirement. Rather, we conclude, as did the Supreme Court in
23   Fox, that restrictions which disregard far less restrictive and more precise means
24   are not narrowly tailored.” See also Multimedia Publ’g Co. v. Greenville-
25   Spartanburg Airport Dist., 991 F.2d 154, 161 (4th Cir. 1993)("While the [Airport]
26   Commission need not choose the most reasonable regulation available to it, its
27   failure to select this simple, available alternative suggests something about both
28   the veracity of its asserted justification and the reasonableness of its blanket ban.).
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 1           Furthermore, in the context of the entire campus and all of the analogous
 2   activities that UCLA allows, the ban on Krishna Lunch, which occupies a total of
 3   about 100 square feet, “only marginally advance[s its] asserted interests” Berger,
 4   569 F.3d at 1041, if at all. And, as emphasized in detail above, there are a plethora
 5   of ready available less restrictive alternatives to a complete ban. Plaintiffs
 6   agreement to wear masks, be vaccinated, and to practice and enforce social
 7   distancing should be the end of the issue.15
 8           These specific measures are, according to the Defendant, sufficient for
 9   every other campus entity – except Plaintiffs. It cannot in good faith be established
10   that these measures are efficacious as applied to Defendant’s commercial
11   operations, but not to Krishna Lunch. The Court’s observations in Vegan Outreach
12   are thus equally applicable here regarding COVID-19:
13           Also bringing into question the significance of the state interest in
             limiting protestors is the evidence showing that radio stations have
14           given out buttons or promotional material on the walkway and that
             individuals often sell programs and concessions outside the ticket
15           office. There is no record of harm or safety concerns caused by such
             activity in the supposedly congested areas. This void in the record
16           belies the Association's claim that a demonstrator handing out leaflets
             would contribute to the harm alleged.
17
18   Vegan Outreach, 2009 WL 10700113 at *3.
19           The Defendant cannot maintain, on the one hand, that these measures are
20   efficacious as applied to UCLA’s commercial entities (including eating facilities
21   that sell primarily meat products) but are inadequate for Krishna Lunch.
22   IV.     IRREPARABLE HARM
23           Where the “deprivation of a constitutional right is involved, . . . no further
24
25      15
        Plaintiffs also intend to comply with other COVID-19 measures, including
26 proof of vaccination (or proof of a negative COVID-19 test). See UCLA return to
   campus, invited guests and third-party contractors, https://covid-19.ucla.edu/
27
   ucla-return-to-campus/
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 1   showing of irreparable injury is necessary.’” Gutierrez v. Mun. Ct., 838 F.2d 1031,
 2   1045 (9th Cir. 1988)(quoting Mitchell v. Cuomo, 748 F.2d 804, 806 (2d Cir. 1984).
 3   This is especially so in free speech cases. E.g., Springfield v. San Diego Unified
 4   Port Dist., 95 F. Supp. 1482, 1490 (S.D. Cal. 1996). “The loss of First
 5   Amendment freedoms, for even minimal periods of time, unquestionably
 6   constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976); Am.-
 7   Arab Anti-Discrimination Comm. v. Reno, 70 F.3d 1045, 1058 (9th Cir. 1995).
 8             The distribution of sanctified vegan and vegetarian food is essential to
 9   Plaintiffs’ ability to disseminate their pro-animal/anti-meat message to their
10   “intended audience.” (Brown Decl. ¶¶ 7, 24); see Bay Area Peace Navy v. United
11   States, 914 F.2d 1224, 1228-229 (9th Cir. 1990). The opportunity to exercise these
12   rights is critical because “the ephemeral opportunity to present one's [views] to an
13   interested audience is lost and the next day's opportunity is different.” Jacobsen v.
14   U.S. Postal Serv., 812 F.2d 1151, 1154 (9th Cir. 1987).
15   V.        AN INJUNCTION SERVES THE PUBLIC INTEREST.
16             UCLA has not shown that Krishna Lunch is a health hazard, or that it will
17   spread COVID-19, anymore than the myriad of activities that UCLA allows.16 Nor
18   has UCLA shown that public health would be imperiled if plaintiffs conducted
19   Krishna Lunch at the designated area and followed the less restrictive measures
20   discussed extensively herein.
21             Where the plaintiffs establish the likelihood of success on the merits, the
22   public interest will also be implicated in injunction actions involving First
23   Amendment challenges. Gannett Co., Inc. v. DePasquale, 443 U.S. 368, 383
24   (1979)(it is always in the public interest to prevent one from violating another's
25
26
          16
         Plaintiffs’ willingness to be vaccinated, wear masks, physically distance, and
27
   liberally use antiseptic cleansers is unprecedented, and exceeds the COVID-19
28 regulations applicable everywhere else on campus.
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 1   constitutional rights).17 “[T]o the extent that issuing injunctive relief will vindicate
 2   important civil rights . . . injunctive relief is in the public interest.” Vegan
 3   Outreach, 2009 U.S. Dist. WL 10700113 at *4.
 4   VI.     RECENT SUPREME COURT DECISIONS WARRANT THE
 5           REINSTATEMENT OF PLAINTIFFS’ FREE EXERCISE CLAIM.
 6           This Court’s holding that Krishna Lunch is not protected by the Free
 7   Exercise Clause was upheld by the Ninth Circuit. Since that time, however, the
 8   Supreme Court has provided important clarification regarding the level of scrutiny
 9   to be applied to rights encompassed by the Free Exercise Clause in a COVID-19
10   context. Plaintiffs submit that these decisions directly impact the rights at issue
11   here, and that their Free Exercise claim should be reinstated.
12           In Roman Catholic Diocese, the Supreme Court issued a preliminary
13   injunction blocking severe restrictions from being placed on two New York City
14   religious organizations by the Governor. The Court found, in particular, that the
15   restrictions on the number of people permitted to participate in religious
16   gatherings and observances was harsh, discriminatory, and excessive. The
17   restrictions applied regardless of the size of the facility or the congregation. The
18   Court found it “hard to believe that admitting more than 10 people to a 1,000–seat
19   church or 400–seat synagogue would create a more serious health risk than the
20   many other activities that the State allows.” 141 Sup. Ct. at 67.
21           Roman Catholic thus focused on the discriminatory manner in which places
22   of worship were treated as opposed to their commercial counterparts. The
23   regulations could “not be viewed as neutral because they single out houses of
24   worship for especially harsh treatment.” Id. at 66.
25
        17
26      See e.g. Pacific Gas & Elec. v. P.U.C. of California, 475 U.S. 1, 8
   (1986)(“By protecting those who wish to enter the marketplace of ideas from
27
   government attack, the First Amendment protects the public's interest in receiving
28 information.”).
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 1          The Governor considers essential [businesses to] include hardware
            stores, acupuncturists, and liquor stores. Bicycle repair shops, certain
 2          signage companies, accountants, lawyers, and insurance agents are all
            essential too. So, at least according to the Governor, it may be unsafe
 3          to go to church, but it is always fine to pickup another bottle of wine,
            shop for a new bike, or spend the afternoon exploring your distal
 4          points and meridians. Who knew public health would so perfectly
            align with secular convenience?
 5
 6   Id. at 69 (Gorsuch, J., concurring).
 7          Because of this glaring disparity, the Court held that “the regulations cannot
 8   be viewed as neutral because they single out houses of worship for especially
 9   harsh treatment.” Id. at 66. “These restrictions apply even to the largest cathedrals
10   and synagogues, which ordinarily hold hundreds. And the restrictions apply no
11   matter the precautions taken, including social distancing, wearing masks, leaving
12   doors and windows open, forgoing singing, and disinfecting spaces between
13   spaces between services.” Id. at 69.
14          The Court further explained that, like here, “[n]ot only is there no evidence
15   that the [two houses of worship] have contributed to the spread of COVID-19[,]
16   but there were many other less restrictive rules that could be adopted to minimize
17   the risk to those attending religious services. Id. at 66.
18          Justice Kavanaugh also took issue with the “strict and inflexible numerical
19   caps [that] apply even to large churches and synagogues that ordinarily can hold
20   hundreds of people and that, with social distancing and mask requirements, could
21   still easily hold far more . . . people.” Id. at 73 (Kavanaugh, J., concurring)
22   (emphasis added).
23          I do not doubt the State’s authority to impose tailored restrictions –
            even very strict restrictions – on attendance at religious services and
24          secular gatherings alike. But the New York restrictions on houses of
            worship are not tailored to the circumstances given the First
25          Amendment interests at stake.
26   Id. at 3 (Kavanaugh, J., concurring).
27          Justice Gorsuch underscored the availability of less restrictive alternatives.
28   “Not only is there no evidence that the applicants have contributed to the spread of
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 1   COVID–19 but there are many other less restrictive rules that could be adopted to
 2   minimize the risk to those attending religious services. Among other things, the
 3   maximum attendance at a religious service could be tied to the size of the church
 4   or synagogue.” Id. at 67. The Court concluded “that enforcement of the
 5   Governor’s severe restrictions on the applicants’ religious services must be
 6   enjoined.” Id. at 69.18
 7               The significance of Roman Catholic cannot be underestimated. In Calvary
 8   Chapel Dayton Valley v. Sisolak, 982 F.3d 1228 (9th Cir. 2020) this Circuit
 9   reviewed an emergency COVID directive that (like the restriction here) “expressly
10   treat[ed] at least six categories of secular assemblies better than it treat[ed]
11   religious services. . . includ[ing] casinos, restaurants and bars, amusement and
12   theme parks, gyms and fitness centers, movie theaters, and mass protests.” Id. at
13   1231.19 After emphasizing that “[t]he Supreme Court’s recent decision in [Catholic
14   Diocese] arguably represents a seismic shift in Free Exercise law,” id. at 1228, the
15   Court explained:
16               [T]he Directive treats numerous secular activities and entities
                 significantly better than religious worship services. Casinos, bowling
17               alleys, retail businesses, restaurants, arcades, and other similar secular
                 entities are limited to 50% of fire-code capacity, yet houses of
18               worship are limited to fifty people regardless of their fire-code
                 capacities. As a result, the restrictions in the Directive, although not
19               identical to New York's, require attendance limitations that create the
                 same ‘disparate treatment’ of religion. . . . Because ‘disparate
20               treatment’ of religion triggers strict scrutiny review – as it did in
                 Roman Catholic Diocese—we will review the restrictions in the
21               Directive under strict scrutiny.
22   Id. at 982 F.3d at 1232 (citations omitted).
23               On this basis, the Court held that the attendance restriction was not narrowly
24
25         18
                Other “essential” businesses included “laundry and liquor, travel and tools.”
26   Id.
27         19
          Section 11 of the Directive imposed a 50-person cap on “indoor in-person
28   services” at “houses of worship.” Id.
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 1   tailored because (like here) there were less restrictive ways of dealing with
 2   COVID in a religious worship setting. Id. at 1234. The Court also expressly
 3   instructed the district court to apply strict scrutiny to the Directive, and
 4   preliminarily enjoined its Directive’s enforcement” pending a final judgment.” Id.
 5          So too should UCLA’s ban on Krishna Lunch be enjoined as a violation of
 6   the Free Exercise Clause. UCLA has implemented various COVID-19
 7   requirements to be followed, to varying degrees, by all sectors of the UCLA
 8   community. UCLA has returned to pre-pandemic levels of operation. Yet,
 9   plaintiffs’ constitutional rights have been eviscerated.
10          Plaintiffs have agreed to be vaccinated, to wear masks, to maintain physical
11   distancing, and to use antiseptic cleansers. Rather than allow plaintiffs to conduct
12   Krishna Lunch on campus if they adhere to these conditions, however, UCLA has
13   instead singled out Krishna Lunch for especially harsh or disfavored treatment that
14   is not imposed on plaintiffs’ commercial counterparts.
15                                        CONCLUSION
16          For all of the foregoing reasons, Plaintiffs’ motion for a preliminary
17   injunction should be granted.
18   Dated: November 12, 2021           Respectfully submitted,
19                                      LAW OFFICES OF ROBERT C. MOEST
20                                                       -and-
21                                      LAW OFFICES OF DAVID M. LIBERMAN
22
23                                      By:      S/Robert C. Moest
                                                  Robert C. Moest
24                                             Attorneys for Plaintiffs
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